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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                          WACO DIVISION
TRUE CHEMICAL SOLUTIONS, LLC, §
PERFORMANCE CHEMICAL COMPANY §                  CIVIL NO:
                              §                 WA:21-CV-00222-ADA
vs.                           §
                              §
PERFORMANCE CHEMICAL COMPANY,
TRUE CHEMICAL SOLUTIONS, LLC,
PERFORMANCE CHEMICAL COMPANY,
TRUE CHEMICAL SOLUTIONS, LLC,
TRUE CHEMICAL SOLUTIONS, LLC,
PERFORMANCE CHEMICAL COMPANY

                   ORDER CANCELLING JURY TRIAL
        IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for JURY TRIAL beginning Monday, March 29, 2021 is hereby CANCELLED until
further order of the court.

       IT IS SO ORDERED this 26th day of March, 2021.




                                           ______________________________
                                           ALAN D ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE
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